                       Case 5:21-cr-40081-HLT Document 3 Filed 08/23/21 Page 1 of 1

AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                         District
                                                  __________      of Kansas
                                                              District of __________


                 United States of America,                        )
                             Plaintiff                            )
                                v.                                )      Case No.    5:21-cr-40081-HLT-01
                    GREGORY M. SEELEY                             )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Gregory M. Seeley                                                                                                   .


Date:          08/23/2021                                                                   s/ Rich Federico
                                                                                            Attorney’s signature


                                                                                         Rich Federico, #22111
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